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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                   4:09CR3119
                                              )
              v.                              )
                                              )
CARLOS CARPIO,                                )     FINDINGS AND RECOMMENDATION
                                              )
                     Defendants.              )
                                              )


       At the conclusion of the hearing this date on the defendant Carpio’s motion to
suppress evidence, I outlined my findings of fact and stated by conclusion and
recommendation that defendant Carpio’s motion to suppress be denied in all respects. In
accordance with the findings and recommendation made on the record,


       IT HEREBY IS RECOMMENDED to the Honorable Richard G. Kopf, United States
District Judge, that defendant Carpio’s motion to suppress, (filing no. 44), be denied in all
respects.

       FURTHER, IT HEREBY IS ORDERED,

       1.     The clerk shall cause a transcript of the hearing to be prepared and filed.

       2.     Counsel are given fourteen days from the date the transcript is available to
              counsel in which to file objections to this recommendation. The parties are
              notified that the failure to object may be held to be a waiver of the right to
              appeal the district judge's adoption of the recommendation.

       3.     Trial of this case is set to commence at 9:00 a.m. on April 12, 2010 for a
              duration of five trial days. Jury selection will be at the commencement of trial.

       DATED this 3 rd day of March, 2010.

                                             BY THE COURT:
                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
